Case 2:16-cv-11211-GAD-SDD ECF No. 99 filed 05/21/18                PageID.2678      Page 1 of 3



                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


PETER W. EMMET,
        Plaintiff,                                            Case No. 2:16-cv-11211
v.
                                                              Hon. Gershwin A. Drain
TOM DEL FRANCO; JOHN OSTENDORF,                               Mag. J. Stephanie Dawkins
NICHOLAS DEL FRANCO; MARTIN KARO;                             Davis
ORGANIC AMERICA WHOLESALE, LLC;
THE GREENHOUSE LEASING COMPANY,
LLC, HOUGHTON STORAGE SOLUTIONS,
LLC; HYDROPONICS HOUSE LLC;
ORGANIC AMERICA MARKETS, LLC;
ORGANIC AMERICA FARMS, LLC;
ORGANIC AMERICA HOLDINGS, LLC;
ORGANIC AMERICA OF FORT MYERS,
LLC; NDF ENTERPRISES; ORGANIC
AMERICA FARMS OF AMHERST, LLC;
JOHN DOE(S) 1 – 10 AND ABC
CORPORATION(S) 1 – 10,
        Defendants.




                          STIPULATED ORDER OF DISMISSAL



       Pursuant to the stipulation and concurrence of the parties, individually and through their

respective counsel,

       IT IS HEREBY ORDERED that all of Plaintiff's claims against Martin Karo, Thomas

del Franco, and John Osendorf are dismissed with prejudice and without costs to any party;



                                               1
Case 2:16-cv-11211-GAD-SDD ECF No. 99 filed 05/21/18                  PageID.2679         Page 2 of 3



         IT IS FURTHER ORDERED that all of Plaintiff's claims against Nicholas del Franco,

Organic America, Organic America Supply, Organic America Farms, LLC, Hydroponics House,

LLC, Organic America Holdings, LLC, Organic America Wholesale, LLC, Organic America of

Fort Myers, LLC, The Homestead Greenhouse Leasing Company, LLC, NDF Enterprises, D&G

Green Enterprises, LLC, Mad Hatter Nutrients and Soils, Homestead Hydro and Organic

America Farms of Amherst, LLC are dismissed without prejudice, and without costs to any

party.

         IT IS FURTHER ORDERED that all counterclaims of any of the Defendants are

dismissed with prejudice and without costs to any party.

         IT IS FURTHER ORDERED that this case is closed, but that the Court shall retain

jurisdiction to enforce the terms of the parties' Settlement Agreement, if so required.




                                              /s/Gershwin A Drain
                                              UNITED STATES DISTRICT COURT JUDGE




                                                 2
Case 2:16-cv-11211-GAD-SDD ECF No. 99 filed 05/21/18          PageID.2680   Page 3 of 3




Stipulated as to form and content:


COUGHLIN DUFFY LLP
Attorneys for Plaintiff
                                          /s/Martin Karo
                                          Martin Karo, in Pro Per
/s/Mark Silver
Mark Silver, Esq.


Dated: May 16, 2018                       Dated: May 16, 2018


                                          COUZENS, LANSKY, FEALK, ELLIS,
                                          ROEDER & LAZAR, P.C.
                                          Attorneys for Defendants



                                          /s/Bruce Lazar
                                          Bruce Lazar, Esq.


                                          Dated: May 16, 2018




                                      3
